Case 2:03-cv-00492-DRH-ETB Document 1 Filed 01/30/03 Page 1 of 7 PageID #: 1
Case 2:03-cv-00492-DRH-ETB Document 1 Filed 01/30/03 Page 2 of 7 PageID #: 2
Case 2:03-cv-00492-DRH-ETB Document 1 Filed 01/30/03 Page 3 of 7 PageID #: 3
Case 2:03-cv-00492-DRH-ETB Document 1 Filed 01/30/03 Page 4 of 7 PageID #: 4
Case 2:03-cv-00492-DRH-ETB Document 1 Filed 01/30/03 Page 5 of 7 PageID #: 5
Case 2:03-cv-00492-DRH-ETB Document 1 Filed 01/30/03 Page 6 of 7 PageID #: 6
Case 2:03-cv-00492-DRH-ETB Document 1 Filed 01/30/03 Page 7 of 7 PageID #: 7
